                          Case 3:19-mj-08620-MAT Document 1 Filed 09/25/19 Page 1 of 3

 A091 (Rev.     Il/Il)    Criminal Complaint



                                           UNITED STATES DISTRICT COURT
                                                                             forthe
                                                                Western District of Texas
                                                                                                                                   i.)

                         United States of America                               )
                                      v.                                        )
          Marcela Auxiliadora RIBEIRO De Souza                                  )     Case No.
             Luciano FRANCISCO De Sousa                                         )




                                Defendant(s)


                                                          CRIMINAL COMPLAINT
         the complainant in this case, state that the following is true to the best of my knowledge and belief.
           I,

On or about the date(s) of         September 23, 2019              in the county of ________El Paso                                      in the
        Western              District of                Texas            ,   the defendant(s) violated:

                Code Section                                                             Offense Description
18 U.S.0 371                                             Two or more persons conspire to commit any offense against the United
                                                         States, to defraud the United States, or any agency, in any manner or for any
                                                         purpose.




          This criminal complaint is based on these facts:
See Attached Affidavit




           f    Continued on the attached sheet.


                                                                                                 /        Complainant's

                                                                                               Gilbert A. Campa, HSI Special Agent
                                                                                                          Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state:
                    09/25/2019


                                               El   Paso, Texas
                                                                                      IL                    Judge 's signature

                                                                                              Miguel Torres U.S. Magistrate Judge
                                                                                                       Printed name and title
           Case 3:19-mj-08620-MAT Document 1 Filed 09/25/19 Page 2 of 3



                                            Affidavit

On September 20, 2019, at approximately 6:47 p.m., Marcela Auxiliadora RIBEIRO De
                                                                                     Souza
(RIBEIRO) and Luciano FRANCISCO De Sousa (FRANCISCO) entered the United States (US)
near the Paso Del Norte (PDN) Port of Entry (POE) in El Paso, Texas. RIBEIRO and
FRANCISCO were accompanied by a minor female (M.C.D.S.). RIBEIRO and FRANCISCO
were part of a larger group who were intercepted by US Border Patrol (USBP) agents, who
subsequently arrested them once their immigration status was established. RIBEIRO,
FRANCISCO, and M.C.D.S. presented themselves as a legitimate family unit to USBP agents,
and presented Brazilian passports. On M.C.D.S.' Brazilian passport, RIBEIRO and
FRANCISCO were listed as the parents.

On September 23, 2019, RIBEIRO was interviewed by Homeland Security Investigations (HSI)
Special Agent (SA) Gilbert A. Campa and USBP Agent Fernando Morales. USBP Agent
Bernardo Hernandez served as the Portuguese translator. USBP Agent Hernandez read
RIBEIRO her Miranda Rights in the Portuguese language. RIBEIRO agreed to speak with
agents without the presence of an attorney and signed the Miranda rights form affirming this.
RIBEIRO was warned as to the charges she would face if she lied and/or provided false
statements to federal agents during the course of the investigation. RIBEIRO was served with a
"Title 18 United States Code, Section 1001" warning. RIBEIRO signed the form understanding
all the elements and consequences. The following is a summary of statements made by
RIBEIRO in sum, but not verbatim.

RIBEIRO stated she met FRANCISCO when they came to the US. They talked about 2 months
prior when they obtained the passport for M.C.D.S. She looked for help crossing over and found
a smuggler in Brazil to help her cross. She agreed to pay the smuggler $1,000.00 USD per
month for a total of $15,000.00 USD. She is not the mother of M.C.D.S. The true mother of
M.C.D.S. left the child with her 2 months prior so that the child would get accustomed to her as
her mother. RIBEIRO would pay her smuggling debt once she started working in the US. The
smuggler put her and FRANCISCO together 2 months prior in order to come to the US as a
family unit. The smuggler obtained their information in order to secure a passport for M.C.D.S.
Both their names are listed as the parents on the passport for M.C.D.S. The true mother of
M.C.D.S. gave the smuggler the information for the child. RIBEIRO picked up the passport for
the child at a mall in Brazil. RIBEIRO stated that she knew what she was doing was illegal, but
she was unemployed and thought she would attempt coming to the US. M.C.D.S was asked
about FRANCISCO, and the child stated that he/she met FRANCISCO when they left Brazil.
M.C.D.S. stated that FRANCISCO is a stranger to himlher.

FRANCISCO was interviewed by HSI SA Campa and USBP Agent Morales. USBP Agent
Hernandez again served as the Portuguese Translator. USBP Agent Hernandez read
FRANCISCO his Miranda Rights in the Portuguese language. FRANCISCO agreed to speak
with agents without the presence of an attorney and signed the Miranda rights form affirming
           Case 3:19-mj-08620-MAT Document 1 Filed 09/25/19 Page 3 of 3



this. FRANCISCO was warned as to the charges he would face if he lied and/or provided false
statements to federal agents during the course of the investigation. FRANCISCO was served
with a "Title 18 United States Code, Section 1001" warning. FRANCISCO signed the form
understanding all the elements and consequences. The following is a summary of statements
made by FRANCISCO in sum, but not verbatim.

FRANCISCO was asked for the name of his girlfriend and he stated his girlfriend's name is
Daniela. FRANCISCO later changed the name to Marcela. FRANCISCO stated that he and
RIBEIRO have been dating for 6-7 months. He stated that M.C.D.S. has been with RIBEIRO
since the child was 3 days old. FRANCISCO stated that both he and RIBEIRO paid a smuggler
in Brazil $20,000.00 in Brazilian Reals to help them cross into the US. FRANCISCO stated he
did not know it was illegal to present himself as a family and that he only wanted a better life.
He is in a romantic relationship with RIBEIRO, but claims not to be the father of M.C.D.S.

USPB Agent Morales notified the United States Attorney's Office, who accepted Federal
Prosecution for RIBEIRO and FRANCISCO on the charge of Title 18, United States Code,
Section 371, Conspiracy to Defraud the US.

Because this affidavit is being submitted for the limited purpose of establishing probable cause
as set forth herein, I have not included each and every fact known to me concerning this
investigation.
